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                      RECOMMENDATION TERMINATING
               SUPERVISED RELEASE PRIOR TO EXPIRATION DATE


                          UNITED STATES DISTRICT COURT
                                    FOR THE
                         EASTERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA                           )
                                                   )
                             vs.                   )   Docket Number: 2:98CR00171-011
                                                   )
MANUEL GALDAMEZ                                    )
                                                   )


LEGAL HISTORY:

On December 8, 2000, the above-named was placed on supervised release for a period
of 3 years, which commenced on August 22, 2003. Special conditions included a
requirement for warrantless search, financial disclosure, and financial restrictions.


SUMMARY OF COMPLIANCE:

Manuel Galdamez has complied with all conditions and special conditions of supervised
release, and has not been involved in any further criminal activities. It is the opinion of the
probation officer supervising Challberg in the Central District of California that Manuel
Galdamez has derived maximum benefit from supervision and is not in need of continued
supervision.




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                                                                                   EARLITRM.MRG
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Re:      Manuel GALDAMEZ
         Docket Number: 2:98CR00171-011
         ORDER TERMINATING SUPERVISED RELEASE
         PRIOR TO EXPIRATION DATE


RECOMMENDATION:

It is, therefore, respectfully recommended that supervised release in this case be
terminated early.

                                        Respectfully submitted,



                                     /s/ karen a. meusling
                                      Karen A. Meusling
                         Supervising United States Probation Officer


Dated:           September 12, 2005
                 Sacramento, California


KAM:kam
cc:  AUSA Samantha Spangler (Pursuant to Rule 32, notice of proposed relief to the supervis ee is
         being provided. If no objection is received fro m you w ithin 14 days, the probation o ffice r's
         Recom mendation and Prob35-Order Term inating Supervis ed Re lease Prior to E xpiration Da te, w ill
         be s ubm itted to the Court for app rova l.)




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PROB 35            ORDER TERMINATING SUPERVISED RELEASE
                         PRIOR TO EXPIRATION DATE


                          UNITED STATES DISTRICT COURT
                                    FOR THE
                         EASTERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA                          )
                                                  )
                            vs.                   )     Docket Number: 2:98CR00171-011
                                                  )
MANUEL GALDAMEZ                                   )
                                                  )


On December 8, 2000, the above-named was placed on supervised release for a period
of 3 years. He has complied with the rules and regulations of supervision. It is accordingly
recommended that he be discharged from supervision.



                                  Respectfully submitted,


                                   /s/ karen a. meusling

                                 Karen A. Meusling
                     Supervising United States Probation Officer


Dated:        September 12, 2005
              Sacramento, California




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Re:     Manuel GALDAMEZ
        Docket Number: 2:98CR00171-011
        ORDER TERMINATING SUPERVISED RELEASE
        PRIOR TO EXPIRATION DATE




                                    ORDER OF COURT

  It is ordered that the supervised releasee be discharged from supervised release, and that
  the proceedings in the case be terminated.

  DATED:     September 16, 2005

                                                  /s/ Garland E. Burrell, Jr.
                                                  GARLAND E. BURRELL, JR.
                                                  United States District Judge



  KAM:kam

  Attachment:    Recommendation

  cc:    United States Attorney's Office
         FLU Unit, AUSA's Office
         Fiscal Clerk, Clerk's Office




                                                                                    Rev. 03/2005
                                                                                   P R O B 3 5. MR G
